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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 BETHUNE-COOKMAN, UNIVERSITY,
 INC.,

                      Plaintiff,

 v.                                                  Case No.: 6:22-cv-47-WWB-RMN

 DR. MARY MCLEOD BETHUNE
 NATIONAL ALUMNI ASSOCIATION,
 INC., JOHNNY L. MCCRAY, JR. and
 MARY MCLEOD BETHUNE NATIONAL
 ALUMNI ASSOCIATION, INC.,

                      Defendants.
                                       /

           AMENDED CASE MANAGEMENT AND SCHEDULING ORDER

       Pursuant to the September 13, 2023 Order (Doc. 103), the Court enters this

 Amended Case Management and Scheduling Order:

  Discovery Deadline                                            November 30, 2023

  Dispositive Motions and Daubert Motions                          January 8, 2024

  Meeting In Person to Prepare Joint Final Pretrial                  April 25, 2024
      Statement
  Joint Final Pretrial Statement, (Including a Single Set              May 3, 2024
      of Jointly Proposed Jury Instructions and Verdict
      Form, Voir Dire Questions, Witness Lists, Exhibit
      Lists on an Approved Form), Trial Briefs
  All Other Motions Including Motions In Limine                       April 3, 2024

  Trial Status Conference
                                                   Date:             May 14, 2024
                                                   Time:                10:00 a.m.
                                                  Judge:    Judge Wendy W. Berger
                                                                    Courtroom 3B
  Trial Term Begins                                                  June 3, 2024
                                                                      at 9:00 a.m.
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  Mediation Deadline                                           December 15, 2023


       All other provisions of the Case Management and Scheduling Order (Doc. 16)

 continue to apply.

       DONE AND ORDERED in Orlando, Florida on September 18, 2023.




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